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                              Exh. 1
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    An Analysis of Surveys Regarding Absentee Ballots Across Several States
                                                    William M. Briggs
                                                    November 23, 2020


1     Summary
Survey data was collected from individuals in several states, sampling those who the states listed as not returning absentee
ballots. The data was provided by Matt Braynard.
    The survey asked respondents whether they (a) had ever requested an absentee ballot, and, if so, (b) whether they had
in fact returned this ballot. From this sample I produce predictions of the total numbers of: Error #1, those who were
recorded as receiving absentee ballots without requesting them; and Error #2, those who returned absentee ballots but
whose votes went missing (i.e. marked as unreturned).
    The sizes of both errors were large in each state. The states were Georgia, Michigan, Wisconsin, and Arizona where
ballots were across parties. Pennsylvania data was for Republicans only.


2     Analysis Description
Each analysis was carried out separately for each state. The analysis used (a) the number of absentee ballots recorded as
unreturned, (b) the total responding to the survey, (c) the total of those saying they did not request a ballot, (d) the total
of those saying they did request a ballot, and of these (e) the number saying they returned their ballots. I assume survery
respondents are representative and the data is accurate.
    From these data a simple parameter-free predictive model was used to calculate the probability of all possible outcomes.
Pictures of these probabilities were derived, and the 95% prediction interval of the relevant numbers was calculated. The
pictures appear in the Appendix at the end. They are summarized here with their 95% prediction intervals.
    Error #1: being recorded as sent an absentee ballot without requesting one.
    Error #2: sending back an absentee ballot and having it recorded as not returned.
      State          Unreturned ballots         Error #1          Error #2
      Georgia               138,029           16,938–22,771      31,559–38,866
      Michigan              139,190           29,611–36,529      27,928–34,710
      Pennsylvania∗         165,412           32,414–37,444      26,954–31,643
      Wisconsin              96,771           16,316–19,273      13,991–16,757
      Arizona               518,560         208,333–229,937 78,714–94,975
    ∗
      Number for Pennsylvania represent Republican ballots only.
    Ballots that were not requested, and ballots returned and marked as not returned were classed as troublesome. The
estimated average number of troublesome ballots for each state were then calculated using the table above and are presented
next.
     State            Unreturned ballots     Estimated average           Percent
                                            troublesome ballots
      Georgia               138,029                  53,489                 39%
      Michigan              139,190                  62,517                 45%
      Pennsylvania∗         165,412                  61,780                 37%
      Wisconsin              96,771                  29,594                 31%
      Arizona               518,560                 303,305                 58%
    ∗
      Number for Pennsylvania represent Republican ballots only.



3     Conclusion
There are clearly a large number of troublesome ballots in each state investigated. Ballots marked as not returned that were
never requested are clearly an error of some kind. The error is not small as a percent of the total recorded unreturned ballots.


                                                               1
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    Ballots sent back and unrecorded is a separate error. These represent votes that have gone missing, a serious mistake.
The number of these missing ballots is also large in each state.
    Survey respondents were not asked if they received an unrequested ballot whether they sent these ballots back. This is
clearly a lively possibility, and represents a third possible source of error, including the potential of voting twice (once by
absentee and once at the polls). No estimates or likelihood can be calculated for this potential error due to absence of data.


4           Declaration of William M. Briggs, PhD
1. My name is William M. Briggs. I am over 18 years of age and am competent to testify in this action. All of the facts
stated herein are true and based on my personal knowledge.
2. I received a Ph.D of Statistics from Cornell University in 2004.
3. I am currently a statistical consultant. I make this declaration in my personal capacity.
4. I have analyzed data regarding responses to questions relating to mail ballot requests, returns and related issues.
5. I attest to a reasonable degree of professional certainty that the resulting analysis are accurate.
I declare under the penalty of perjury that the foregoing is true and correct.




                                                23 November 2020
    William M. Briggs


5           Appendix
The probability pictures for each state for each outcome as mentioned above.
                            Probability of numbers of un−requested absentee ballots listed as
                            not returned for Georgia
                  0.00025                       There is a 95 % chance from
                                                between 16938 and 22771
                  0.00020                       absentee ballots were not
    Probability




                  0.00015                       requested but marked as not
                                                returned
                  0.00010
                  0.00005
                  0.00000
                              0        20,000         40,000      60,000             80,000     100,000   120,000   140,000
                                                               Ballots Listed as Not Returned

                            Probability of numbers of absentee ballots returned but listed as
                            not returned for Georgia
                  0.00020                                 There is a 95 % chance from
                                                          between 31559 and 38866
                  0.00015                                 absentee ballots were
    Probability




                                                          returned but marked as not
                  0.00010                                 returned

                  0.00005

                  0.00000
                              0        20,000         40,000      60,000             80,000     100,000   120,000   140,000
                                                               Ballots Listed as Not Returned




                                                                                           2
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                        Probability of numbers of un−requested absentee ballots listed as
                        not returned for Michigan
                                                        ~         There is a 95 % chance from
              0.00020
                                                                  between 29611 and 36529
                                                                  absentee ballots were not
Probability



              0.00015
                                                                  requested but marked as not
              0.00010                                             returned

              0.00005

              0.00000
                                                J
                                                              "
                          0        20,000                     40,000            60,000            80,000       100,000     120,000      140,000
                                                                            Ballots Listed as Not Returned

                        Probability of numbers of absentee ballots returned but listed as
                        not returned for Michigan
                                                    ~         There is a 95 % chance from
              0.00020                                         between 27928 and 34710
                                                              absentee ballots were
Probability




              0.00015
                                                              returned but marked as not
              0.00010                                         returned

              0.00005
                                            J
              0.00000
                          0        20,000                     40,000            60,000            80,000       100,000     120,000      140,000
                                                                            Ballots Listed as Not Returned

                        Probability of numbers of un−requested absentee ballots listed as
                        not returned for Pennsylvania
              0.00030                                       There is a 95 % chance from
              0.00025                                       between 32414 and 37444
                                                            absentee ballots were not
Probability




              0.00020
                                                            requested but marked as not
              0.00015                                       returned
              0.00010
              0.00005
              0.00000
                          0      20,000             40,000             60,000            80,000      100,000    120,000   140,000    160,000
                                                                            Ballots Listed as Not Returned

                        Probability of numbers of absentee ballots returned but listed as
                        not returned for Pennsylvania
              0.00035
                                                There is a 95 % chance from
              0.00030
                                                between 26954 and 31643
              0.00025
                                                absentee ballots were
Probability




              0.00020                           returned but marked as not
              0.00015                           returned
              0.00010
              0.00005
              0.00000
                          0      20,000             40,000             60,000            80,000      100,000    120,000   140,000    160,000
                                                                            Ballots Listed as Not Returned




                                                                                                           3
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                       Probability of numbers of un−requested absentee ballots listed as
                       not returned for Wisconsin
              0.0005                        There is a 95 % chance from
                                            between 16316 and 19273
              0.0004
                                            absentee ballots were not
Probability




              0.0003                        requested but marked as not
                                            returned
              0.0002

              0.0001

              0.0000
                         0       10,000   20,000      30,000      40,000           50,000         60,000         70,000        80,000       90,000
                                                                 Ballots Listed as Not Returned

                       Probability of numbers of absentee ballots returned but listed as
                       not returned for Wisconsin
                                          There is a 95 % chance from
              0.0005
                                          between 13991 and 16757
              0.0004                      absentee ballots were
Probability




              0.0003                      returned but marked as not
                                          returned
              0.0002
              0.0001
              0.0000
                         0       10,000    20,000     30,000      40,000           50,000         60,000         70,000        80,000       90,000
                                                                 Ballots Listed as Not Returned

                        Probability of numbers of un−requested absentee ballots listed as
                        not returned for Arizona
              0.00007                                                          There is a 95 % chance from
              0.00006                                                          between 208333 and 229937
              0.00005                                                          absentee ballots were not
Probability




              0.00004                                                          requested but marked as not
              0.00003                                                          returned
              0.00002
              0.00001
                                                                           \
              0.00000
                             0   50,000   100,000   150,000    200,000         250,000      300,000    350,000       400,000      450,000    500,000
                                                                  Ballots Listed as Not Returned

                        Probability of numbers of absentee ballots returned but listed as
                        not returned for Arizona
              0.00010
                                             There is a 95 % chance from
              0.00008                        between 78714 and 94975
                                             absentee ballots were
Probability




              0.00006
                                             returned but marked as not
              0.00004                        returned

              0.00002

              0.00000
                             0   50,000   100,000   150,000    200,000         250,000      300,000    350,000       400,000      450,000     500,000
                                                                  Ballots Listed as Not Returned




                                                                                                  4
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0276 GA Unreturned_Absentee Live ID Topline

                                                                           11/16/2020 11/17/2020
     15179 Completes                                                             8143       7036
            Completed survey** -
        184 Q5=01 or 02               status = C                                  64        120
    13,479 Refused/Early
            Answering Machines
                         Hang         status = AM                               7090       6389
      1,516 Bad/Wrong
            up/RC                     status = R, IR, RC, DC                     989        527
      4,902 Numbers/Language          status = D, BC,WN, NE                     2436       2466
          0 MA                        status = MA                                  0          0

   58.45% List Penetration

    34,355 Data Loads                                                         34,355

Q1 - May I please speak to <lead on
                                      Response                              16-Nov     17-Nov
screen>?
       767                   65.28%   1. “What
                                      2.       is this
                                         Reached       about?”/Uncertain
                                                   Target [Go to Q2].            446        321
       255                   21.70%   [Go to Q2].                                165         90
       153                   13.02%   X = Refused <Go to CLOSE A>                104         49
       385                   32.77%   Q = Hangup <Go to CLOSE A>                 267        118
     1,175                  100.00%   Sum of All Responses                       982        578


Q2 - Did you request an absentee
                                      Response                              16-Nov     17-Nov
ballot?

       591                   61.31% 1. Yes. [Go to Go to Q3].                    343        248
       128                   13.28% 2. No. [Go to Q4].                            84         44
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                                      3. Spouse/other household
        39                  4.05%     member   confirmed
                                      4. Spouse/other      “Yes” [Go to
                                                        household                   24         15
        14                  1.45%     member confirmed “No” [Go to Q4]              11          3
        40                  4.15%     5.
                                      6. Unsure.  [Go to
                                         Actual target notQ3].
                                                           available at the         26         14
        82                  8.51%     moment. [Go to Close A]                       48         34
        70                  7.26%     X = Refused <Go to CLOSE A>                   42         28
        58                  6.02%     Q = Hangup <Go to CLOSE A>                    33         25
       964                100.00%     Sum of All Responses                         611        411



Q3 - Did you mail back that ballot? Response                                  16-Nov     17-Nov


       240                 38.52% 1. Yes. [Go to Go to Q4].                        149         91
       317                        2. Spouse/other
                           50.88% 3. No. [Go to Close   A].
                                                    household                      174        143
        17                  2.73% member    confirmed
                                  4. Spouse/other      “Yes” [Go to
                                                    household                       10          7
                                  member confirmed “No” [Go to
         9                  1.44%
                                  Close A]                                           4          5
        24                        5. Actual
                            3.85% 6. Unsure.target
                                              [Go to
                                                   notClose A]. at the
                                                       available                    14         10
        11                  1.77% moment. [Go to Close A]                            8          3
         5                  0.80% X = Refused <Go to CLOSE A>                        5          0
         7                  1.12% Q = Hangup <Go to CLOSE A>                         3          4
       623                100.00% Sum of All Responses                             367        263

Q4 - Can you please give us the
best phone number to reach you        Response                                16-Nov     17-Nov
at?
       313                  82.15%    01 = Yes <Go to Q5>                          205        108
        49                  12.86%    02 = No <Go to Q5>                            26         23
        19                    4.99%   X = Refused <Go to CLOSE A>                   13          6
        18                    4.72%   Q = Hangup <Go to CLOSE A>                    10          8
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       381                100.00% Sum of All Responses                    254         145

Q5 - May we please have an email
                                      Response                       16-Nov     17-Nov
address to follow-up as well?
        99                  28.86%    01 = Yes <Go to CLOSE B>             64          35
       229                  66.76%    02 = No <Go to CLOSE B>             144          85
        15                    4.37%   X = Refused <Go to CLOSE A>          11           4
        19                    5.54%   Q = Hangup <Go to CLOSE A>           12           7
       343                 100.00%    Sum of All Responses                231         131
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MI Unreturned Live Agent - Mass Markets

                                                                 11/15/2020 11/16/2020 11/17/2020    I
 3,815 Completes                                                        -         990      2,825
        Completed survey** -
    248 Q4=01                         1-Completed Survey                    -       36       212
  1,257 VM Message Left
        Refused/Early Hang            2-Message Delivered VM                -      388       869
  2,310 up/RC                         3-Refused                             -      566     1,744
 62,569 No Answer
        Bad/Wrong                     4-No Answer                           -   15,482    47,087
  3,644 Numbers/Language              5-Bad Number                          -      570     3,074


100.00% List Penetration

 70,030 Data Loads

Q1 - May I please speak to <lead on
                                      Response
screen>?                                                         11/15/2020 11/16/2020 11/17/2020
     958                     23.65%   A-Reached
                                      B-What      Target
                                              Is This About? /            -        158        800
     142                      3.51%   Uncertain                           -         57         85
   2,950                     72.84%   X = Refused                         -        883      2,067
       0                      0.00%
   4,050                   100.00%    Sum of All Responses              -       1,098        2,952


Q2 - Did you request Absentee
                                      Response
Ballot in state of MI?
                                                                 11/15/2020 11/16/2020 11/17/2020
    752   I                  49.64% A-Yes [Go to Q3]                        -     167          585
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    239                     15.78%     B-No
                                       C-Yes[Go
                                             (pertoSpouse/family
                                                    Q4]                         -      39        200
     50                      3.30%     Member)
                                       D-No (per[Go  to Q3]
                                                  Spouse/family                 -       5         45
     17                      1.12%     Member) [Go to Q4]                       -       2         15
     37                      2.44%     E-Unsure
                                       F-Not     [Go toAt
                                             Available  Close
                                                          The A]                -       4         33
     11                      0.73%     Moment [Go to Close A]                   -       2          9
    409                     27.00%     X = Refused                              -      63        346



   1,515                   100.00% Sum of All Responses                     -         282      1,233

Q3 - Did you mail your ballot back?    Response                      11/15/2020 11/16/2020 11/17/2020
     232                     21.28%    A-Yes [Go to Q4]                       -         41        191
     472                     43.30%    B-No [Go
                                       C-Yes (pertoSpouse/family
                                                    Close A]                  -        109        363
      10                       0.92%   Member)
                                       D-No (per[Go  to Q4]
                                                  Spouse/family               -          2          8
      28                       2.57%   Member)  [Go  to Close
                                       E-Unsure / Refused     A]to
                                                            [Go               -          2         26
      22                       2.02%   Close A]                               -          5         17
     326                     29.91%    X = Refused                            -         60        266
                                                                              -

   1,090                   100.00% Sum of All Responses                     -         219       871




Q4 - Can you please give us the
best phone number to reach you         Response
at?                                                                  11/15/2020 11/16/2020 11/17/2020
                                   A-Yes (Capture Number) [Go
    246                     69.89% to Q5]                                       -      36        210
    106                     30.11% B-Refused [Go to Q5]                         -      27         79
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      0                     0.00%
      0                     0.00%
    352                   100.00% Sum of All Responses               -          63        289

Q5 - Can you provide us your email
                                     Response
address?                                                      11/15/2020 11/16/2020 11/17/2020
      18                     7.26%   01-Yes [Go to Close B]            -          5         13
     230                   92.74%    02-No [Go to Close B]             -         31        199
       0                     0.00%
     248                  100.00%    Sum of All Responses            -          36        212
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WI Unreturned Live Agent - Mass Markets

                                                                             11/15/2020 11/16/2020 11/17/2020
    4,614        Completes                                                          -       3,483      1,131

       433   Completed survey** - Q4=011-Completed Survey                          -          300        133
     1,053   VM Message Left           2-Message Delivered VM                      -          804        249
     3,128   Refused/Early Hang up/RC 3-Refused                                    -        2,379        749
    50,712   No Answer                 4-No Answer                                 -       40,391     10,321
     1,944   Bad/Wrong Numbers/Language5-BadBarrier
                                             Number                                -        1,289        655


  100.00% List Penetration

    57,271 Data Loads

Q1 - May I please speak to <lead on
                                         Response
screen>?                                                                     11/15/2020 11/16/2020 11/17/2020
                                         A-Reached Target + B-What Is This
     2,261                        64.69% About? / Uncertain                        -        1,343        475
     1,677                        47.98% X = Refused                               -        1,202        475
         0                         0.00%
     3,495                       100.00% Sum of All Responses                      -        2,545        950


Q2 - Did you request Absentee Ballot
                                     Response
in state of WI?
                                                                             11/15/2020 11/16/2020 11/17/2020
     1,699   I                    62.39% A-Yes [Go to Q3]                          -        1,374        325
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       379                     13.92% B-No [Go to Q4]                             -          240        139
                                      C-Yes (per Spouse/family Member)
        32                      1.18%
                                      [Go to Q3]                                  -           16         16
                                      D-No (per Spouse/family Member)
         4                      0.15%
                                      [Go to Q4]                                  -          -            4
        44                      1.62% E-Unsure [Go to Close A]                    -           25         19
                                      F-Not Available At The Moment [Go
         4                      0.15%
                                      to Close A]                                 -            2          2
       561                     20.60% X = Refused                                 -          405        156


     2,723                    100.00% Sum of All Responses                        -        2,062        661

Q3 - Did you mail your ballot back?    Response                             11/15/2020 11/16/2020 11/17/2020
       316                      14.67% A-Yes [Go to Q4]                            -         238         78
     1,286                      59.70% B-No [Go to Close A]                        -       1,069        217
                                       C-Yes (per Spouse/family Member)
          9                      0.42%
                                       [Go to Q4]                                 -            4          5
                                       D-No (per Spouse/family Member)
        15                       0.70%
                                       [Go to Close A]                            -            8          7
        28                       1.30% E-Unsure / Refused [Go to Close A]         -           24          4
       500                      23.21% X = Refused                                -          314        186
                                                                                  -

     2,154                    100.00% Sum of All Responses                        -        1,657        497
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Q4 - Can you please give us the best
                                       Response
phone number to reach you at?
                                                                         11/15/2020 11/16/2020 11/17/2020
       432                    80.00% A-Yes (Capture Number) [Go to Q5]         -           300       132
       108                    20.00% B-Refused [Go to Q5]                      -            77        31
         0                     0.00%
         0                     0.00%
       540                   100.00% Sum of All Responses                      -           377       163

Q5 - Can you provide us your email
                                       Response
address?                                                                 11/15/2020 11/16/2020 11/17/2020
        50                    11.55%   01-Yes [Go to Close B]                   -          37         13
       383                    88.45%   02-No [Go to Close B]                    -         263        120
         0                     0.00%
       433                   100.00%   Sum of All Responses                    -           300       133
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0270 PA Absentee Live ID Topline

                                                                             11/9/2020 11/10/2020 11/11/2020
     18037 Completes                                                              4419      13618          0
            Completed
        834 Answering
            survey** - Q4=01     status = C                                       178        656
    14,203 Refused/Early
            Machines             status = AM                                     3465      10738
      3,000 Bad/Wrong
            Hang up/RC           status = R, IR, RC, DC                           776       2224
      3,521 Numbers/Languag      status = D, BC,WN, NE                            556       2965
          0 MA                   status = MA

   87.70% List Penetration

    24,581 Data Loads                                                          24,581

Q1 - May I please speak to
                                 Response                                    9-Nov      10-Nov     11-Nov
<lead on screen>?
     2,262             75.86%    1. “What
                                 2.       is this
                                    Reached       about?”/Uncertain
                                              Target [Go to Q2].    [Go to        593      1,669
       422             14.15%    Q2].                                             102        320
       298               9.99%   X = Refused <Go to CLOSE A>                       77        221
       739             24.78%    Q = Hangup <Go to CLOSE A>                       160        579
     2,982            100.00%    Sum of All Responses                             932       2789            0


Q2 - Did you request an
                                 Response                                    9-Nov      10-Nov     11-Nov
absentee ballot?

     1,114              43.91% 1. Yes. [Go to Go to Q3].                          331        783
       531              20.93% 2. No. [Go to Q4].                                 131        400
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                                3. Spouse/other household member
        36              1.42%   confirmed  “Yes” [Go
                                4. Spouse/other        to Q3] member
                                                  household                     12         24
        25              0.99%   confirmed “No” [Go to Q4]                        9         16
        91              3.59%   5.
                                6. Unsure.  [Go to
                                   Actual target notQ3].
                                                     available at the           25         66
        89              3.51%   moment.
                                7.        [Go
                                   Voted in    to Close
                                             Person      A] [Go to Close
                                                     at Polls.                  17         72
       544             21.44%   A]                                             105        439
       107              4.22%   X = Refused <Go to CLOSE A>                     29         78
       147              5.79%   Q = Hangup <Go to CLOSE A>                      36        111
     2,537            100.00%   Sum of All Responses                           695       1989            0


Q3 - Did you mail back that
                                Response                                   9-Nov     10-Nov     11-Nov
ballot?

       452             39.75% 1. Yes. [Go to Go to Q4].                         90        362
       632                    2. Spouse/other
                       55.58% 3. No. [Go to Close   A].
                                                household   member             229        403
        11                    confirmed
                        0.97% 4.         “Yes” [Go
                                 Spouse/other        to Q4] member
                                                household                        1         10
        11              0.97% confirmed “No” [Go to Close A]                     4          7
        15                    5. Actual
                        1.32% 6. Unsure.target
                                          [Go to
                                               notClose  A]. at the
                                                   available                     6          9
         2              0.18% moment. [Go to Close A]                            0          2
        14              1.23% X = Refused <Go to CLOSE A>                        5          9
        13              1.14% Q = Hangup <Go to CLOSE A>                         8          5
     1,137            100.00% Sum of All Responses                             343        807            0

Q4 - Can you please give us
the best phone number to        Response                                   9-Nov     10-Nov     11-Nov
reach you at?
       834             87.61%   01 = Yes <Go to CLOSE B>                       178        656
       118             12.39%   X = Refused <Go to CLOSE A>                     36         82
         67             7.04%   Q = Hangup <Go to CLOSE A>                      17         50
       952            100.00%   Sum of All Responses                           231        788            0
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AZ Unreturned Live Agent - Mass Markets

                                                              11/15/2020 11/16/2020 11/17/2020   I
 5,604 Completes                                                    745      1,881      2,978
        Completed survey** -
    684 Q4=01                      1-Completed Survey                116        212       356
  1,945 VM Message Left
        Refused/Early Hang         2-Message Delivered VM             90        657     1,198
  2,975 up/RC                      3-Refused                         539      1,012     1,424
 74,437 No Answer
        Bad/Wrong                  4-No Answer                     6,764     25,056    42,617
  1,663 Numbers/Language           5-Bad Number                      245        384     1,034


100.00% List Penetration

 81,708 Data Loads

Q1 - May I please speak to <lead
                                   Response
on screen>?                                                   11/15/2020 11/16/2020 11/17/2020
   1,812                 40.05%    A-Reached
                                   B-What      Target
                                           Is This About? /          307        554        951
     335                   7.40%   Uncertain                          80        124        131
   2,377                 52.54%    X = Refused                       382        854      1,141
       0                   0.00%
   4,524                100.00%    Sum of All Responses             769      1,532      2,223


Q2 - Did you request Absentee
                                   Response
Ballot in state of AZ?
                                                              11/15/2020 11/16/2020 11/17/2020
   1,120   I               45.00% A-Yes [Go to Q3]                   210        361       549
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    885                 35.56%     B-No
                                   C-Yes[Go
                                          (pertoSpouse/family
                                                 Q4]                      162        286        437
     24                  0.96%     Member)
                                   D-No (per[Go   to Q3]
                                               Spouse/family                5          9         10
     21                  0.84%     Member) [Go to Q4]                       3         10          8
     72                  2.89%     E-Unsure
                                   F-Not      [Go toAt
                                         Available   Close A]
                                                       The Moment          10         18         44
      7                  0.28%     [Go to Close A]                          -          1          6
    360                 14.46%     X = Refused                             45         69        246



   2,489               100.00% Sum of All Responses                       435        754      1,300

Q3 - Did you mail your ballot      Response                         11/15/2020 11/16/2020 11/17/2020
     344                 16.16%    A-Yes [Go to Q4]                         67        112        165
     696                 32.69%    B-No [Go
                                   C-Yes (pertoSpouse/family
                                                Close A]                   116        237        343
      11                   0.52%   Member)
                                   D-No (per[Go  to Q4]
                                              Spouse/family                  2          2          7
       9                   0.42%   Member)  [Go  to Close
                                   E-Unsure / Refused     A]to
                                                        [Go                  1          4          4
      14                   0.66%   Close A]                                  3          4          7
   1,055                 49.55%    X = Refused                             201        326        528



   2,129               100.00% Sum of All Responses                       390        685      1,054




Q4 - Can you please give us the
best phone number to reach you Response
at?                                                           11/15/2020 11/16/2020 11/17/2020
                                A-Yes (Capture Number) [Go to
     678                 82.48% Q5]                                  116        212        350
     144                 17.52% B-Refused [Go to Q5]                  38         50         56
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      0                  0.00%
      0                  0.00%
    822                100.00% Sum of All Responses              154        262       406

Q5 - Can you provide us your
                                  Response
email address?                                             11/15/2020 11/16/2020 11/17/2020
     127                 18.57%   01-Yes [Go to Close B]           24         36         67
     557                 81.43%   02-No [Go to Close B]            92        176        289
       0                  0.00%
     684               100.00%    Sum of All Responses           116        212       356
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  William M. Briggs, PhD
  Statistician to the Stars!
  matt@wmbriggs.com
  917-392-0691

                                    1. Experience
     (1) 2016: Author of Uncertainty: The Soul of Modeling, Probability & Sta-
         tistics, a book which argues for a complete and fundamental change in the
         philosophy and practice of probability and statistics. Eliminate hypothesis
         testing and estimation, and move to verifiable predictions. This includes
         AI and machine learning. Call this The Great Reset, but a good one.
     (2) 2004-2016 Adjunct Professor of Statistical Science, Cornell
         University, Ithaca, New York
         I taught a yearly Masters course to people who (rightfully) hate statistics.
         Interests: philosophy of science & probability, epistemology, epidemiology
         (ask me about the all-too-common epidemiologist fallacy), Bayesian sta-
         tistics, medicine, climatology & meteorology, goodness of forecasts, over-
         confidence in science; public understanding of science, limitations of science,
         scientism; scholastic metaphysics (as it relates to epistemology).
     (3) 1998-present. Statistical consultant, Various companies
         Most of my time is spent coaxing people out of their money to tell them
         they are too sure of themselves. All manner of analyses cheerfully un-
         dertaken. Example: Fraud analysis; I created the Wall Street Journal’s
         College Rankings. I consultant regularly at Methodist and other hospitals,
         start-ups, start-downs, and with any instition willing to fork it over.
     (4) 2003-2010. Research Scientist, New York Methodist Hospital,
         New York
         Besides the usual, I sit/sat on the Institutional Review Committee to assess
         the statistics of proposed research. I was an Associate Editor for Monthly
         Weather Review (through 2011). Also a member of the American Meteoro-
         logical Society’s Probability and Statistics Committee (through 2011). At
         a hospital? Yes, sir; at a hospital. It rains there, too, you know.
     (5) Fall 2007, Fall 2010 Visiting Professor of Statistics, Depart-
         ment of Mathematics, Central Michigan University, Mt. Pleas-
         ant, MI
         Who doesn’t love a visit from a statistician? Ask me about the difference
         between “a degree” and “an education.”
     (6) 2003-2007, Assistant Professor Statistics, Weill Medical Col-
         lege of Cornell University, New York, New York
         Working here gave me a sincere appreciation of the influences of government
         money; grants galore.
     (7) 2002-2003. Gotham Risk Management, New York
         A start-up then, after Enron’s shenanigans, a start-down. We set future
         weather derivative and weather insurance contract prices that incorporated
         information from medium- and long-range weather and climate forecasts.
     (8) 1998-2002. DoubleClick, New York
         Lead statistician. Lot of computer this and thats; enormous datasets.
     (9) 1993-1998. Graduate student, Cornell University
                                           1
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           Meteorology, applied climatology, and finally statistics. Was Vice Chair of
           the graduate student government; probably elected thanks to a miracle.
      (10) 1992-1993. National Weather Service, Sault Ste. Marie, MI
           Forecast storms o’ the day and launched enormous balloons in the name of
           Science. My proudest moment came when I was able to convince an ancient
           IBM-AT machine to talk to an analog, 110 baud, phone-coupled modem,
           all using BASIC!
      (11) 1989-1992. Undergraduate student, Central Michigan Univer-
           sity
           Meteorology and mathematics. Started the local student meteorology group
           to chase tornadoes. Who knew Michigan had so few? Spent a summer at
           U Michigan playing with a (science-fiction-sounding) lidar.
      (12) 1983-1989. United States Air Force
           Cryptography and other secret stuff. Shot things; learned pinochle. I
           adopted and became proficient with a fascinating and versatile vocabulary.
           Irritate me for examples. TS/SCI, etc. security clearance (now inactive).


                                     2. Education
       (1) Ph.D., 2004, Cornell University. Statistics.
       (2) M.S., 1995, Cornell University. Atmospheric Science.
       (3) B.S., Summa Cum Laude, 1992, Central Michigan University. Meteorology
           and Math.


                                   3. Publications
  3.0.1. Popular.
       (1) Op-eds in various newspapers; articles in Stream, Crisis Magazine, The
           Remnant, Quadrant, Quirks; blog with ∼70,000 monthly readers. Various
           briefs submitted to government agencies, such as California Air Resources
           Board, Illinois Department of Natural Resources. Talks and holding-forths
           of all kinds.

  3.0.2. Books.
       (1) Richards, JW, WM Briggs, and D Axe, 2020. UThe Price of Panic: How
           the Tyranny of Experts Turned a Pandemic into a Catastrophe. Regnery.
           Professors Jay Richards, William Briggs, and Douglas Axe take a deep dive
           into the crucial questions on the minds of millions of Americans during one
           of the most jarring and unprecedented global events in a generation.
       (2) Briggs, WM., 2016. Uncertainty: The Soul of Modeling, Probability &
           Statistics. Springer. Philosophy of probability and statistics. A new (old)
           way to view and to use statistics, a way that doesn’t lead to heartbreak
           and pandemic over-certainty, like current methods do.
       (3) Briggs, WM., 2008 Breaking the Law of Averages: Real Life Probability and
           Statistics in Plain English. Lulu Press, New York. Free text for undergrad-
           uates.
       (4) Briggs, WM., 2006 So You Think You’re Psychic? Lulu Press, New York.
           Hint: I’ll bet you’re not.
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  3.0.3. Methods.



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     (2) Briggs, WM and J.C. Hanekamp, 2020. Adjustments to the Ryden & Mc-
         Neil Ammonia Flux Model. Soil Use and Management, In review.
     (3) Briggs, William M., 2020. Parameter-Centric Analysis Grossly Exaggerates
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         Thach, ND Trung, DV Thanh (eds.), In press.
     (4) Briggs, WM, HT Nguyen, D Trafimow, 2019. Don’t Test, Decide. In
         Behavioral Predictive Modeling in Econometrics, Springer, V Kreinovich, S
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     (5) Briggs, William M. and HT Nguyen, 2019. Clarifying ASA’s view on p-
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         03(02), 1–16.
     (6) Briggs, William M., 2019. Reality-Based Probability & Statistics: Solv-
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     (7) Briggs, William M., 2019. Everything Wrong with P-Values Under One
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         NN Thach, ND Trung, DV Thanh (eds.), pp 22—44.
     (8) Briggs, WM, HT Nguyen, D Trafimow, 2019. The Replacement for Hy-
         pothesis Testing. In Structural Changes and Their Econometric Modeling,
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     (9) Trafimow, D, V Amrhein, CN Areshenkoff, C Barrera-Causil, ..., WM
         Briggs, (45 others), 2018. Manipulating the alpha level cannot cure sig-
         nificance testing. Frontiers in Psychology, 9, 699. doi.org/10.3389/ fp-
         syg.2018.00699.
    (10) Briggs, WM, 2018. Testing, Prediction, and Cause in Econometric Models.
         In Econometrics for Financial Applications, ed. Anh, Dong, Kreinovich,
         and Thach. Springer, New York, pp 3–19.
    (11) Briggs, WM, 2017. The Substitute for p-Values. JASA, 112, 897–898.
    (12) J.C. Hanekamp, M. Crok, M. Briggs, 2017. Ammoniak in Nederland.
         Enkele kritische wetenschappelijke kanttekeningen. V-focus, Wageningen.
    (13) Briggs, WM, 2017. Math: Old, New, and Equalitarian. Academic Ques-
         tions, 30(4), 508–513.
    (14) Monckton, C, W Soon, D Legates, ... (several others), WM Briggs 2018. On
         an error in applying feedback theory to climate. In submission (currently
         J. Climate).
    (15) Briggs, WM, JC Hanekamp, M Crok, 2017. Comment on Goedhart and
         Huijsmans. Soil Use and Management, 33(4), 603–604.
    (16) Briggs, WM, JC Hanekamp, M Crok, 2017. Response to van Pul, van
         Zanten and Wichink Kruit. Soil Use and Management, 33(4), 609–610.
    (17) Jaap C. Hanekamp, William M. Briggs, and Marcel Crock, 2016. A volatile
         discourse - reviewing aspects of ammonia emissions, models, and atmo-
         spheric concentrations in The Netherlands. Soil Use and Management,
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           model. Science Bulletin. August 2015, Volume 60, Issue 15, pp 1378–1390.
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           Testing and Estimation To Importance, Relevance, and Skill. arxiv.org/
           abs/1508.02384.
      (20) Briggs, WM, 2015. The Crisis Of Evidence: Why Probability And Statistics
           Cannot Discover Cause. arxiv.org/abs/1507.07244.
      (21) David R. Legates, Willie Soon, William M. Briggs, Christopher Monckton
           of Brenchley, 2015. Climate Consensus and ‘Misinformation’: A Rejoinder
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           mate Change. Science and Education, 24, 299–318, DOI 10.1007/s11191-
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      (23) Christopher Monckton of Brenchley, Willie Soon, David Legates, William
           Briggs, 2014. Why models run hot: results from an irreducibly simple
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           Physicians and Surgeons, Volume 19 Number 2, 58–60.
      (25) Aalt Bast, William M. Briggs, Edward J. Calabrese, Michael F. Fenech,
           Jaap C. Hanekamp, Robert Heaney, Ger Rijkers, Bert Schwitters, Pieternel
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           Regulating Nutrition and Health Claims in Europe. European Food and
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         Statistical Association, 94, 345-346.
    (49) Briggs, W.M., and R.A. Levine, 1997. Wavelets and Field Forecast Verifi-
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    (50) Briggs, WM, and DS Wilks, 1996. Estimating monthly and seasonal dis-
         tributions of temperature and precipitation using the new CPC long-range
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  3.0.4. Applications.


     (1) Jamorabo, Daniel, Renelus, Benjamin, Briggs, WM, 2019. ”Comparative
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     (2) Benjamin Renelus, S Paul, S Peterson, N Dave, D amorabo, W Briggs,
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         analysis of national dataset”, Seminars in Arthritis and Rheumatism, doi:
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         Krishna, N. Dontineni, J.A Socolow, W.M. Briggs, I. Klem, T.J. Sacchi,
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         pulmonary function tests improve risk stratification before cardiothoracic
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         presence and severity of coronary artery disease, metabolic syndrome, and
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         patients undergoing major lower extremity amputation. Ann Vasc Surg,
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